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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                            Criminal No. 22-cr-00007-LKG

                  v.

 MARILYN J. MOSBY,

                         Defendant


                ATTORNEY PROCTOR’S REPLY IN RESPONSE TO THE
             GOVERNMENT’S OPPOSITION TO THE MOTION TO WITHDRAW

        Gary E. Proctor, as counsel for Defendant Marilyn Mosby, submits this reply to those

portions of the Government’s Opposition to the Defense’s Motion to Withdraw arguing that he not

be allowed to withdraw. The other defense attorneys of record will address the Government’s

Opposition as it relates to them in a separate filing(s).

        As explained herein, there is sufficient good cause to allow Mr. Proctor to withdraw as to

do otherwise would “result in an unreasonable financial burden” on Mr. Proctor. MD Rule of

Professional Conduct 19-301.16(b)(6). Additionally, there is sufficient good cause to allow Mr.

Proctor to withdraw given the current trial schedule. Id.; see also MD Rule of Professional

Conduct 19-301.16(b)(7) (allowing an attorney to withdraw if “other good cause for withdrawal

exists.”).

I.      THERE IS SUFFICIENT GOOD CAUSE TO ALLOW MR. PROCTOR TO
        WITHDRAW GIVEN THE CURRENT TRIAL SCHEDULE.

        Maryland Rule of Professional Conduct 19-301.16(b) establishes seven bases for allowing

an attorney to withdraw from representing a client. Two of the seven are: “(6) the representation

will result in unreasonable financial burden on the attorney,” and “(7) other good cause for

withdrawal exists.” MD Rule of Professional Conduct 19-301.16(b)(6) & (7). Given the current
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trial schedule, Mr. Proctor’s request is supported by both bases, and therefore he should be allowed

to withdraw.

       Mr. Proctor is a lawyer in a two-person law firm. The primary focus of his practice is

representing indigent persons charged with the death penalty throughout the country. In the last

year he has represented capitally charged Defendants in the Virgin Islands, Puerto Rico,

Kentucky, Idaho, Pennsylvania and Maryland. Given his obligations in other cases, he would be

violating the American Bar Association for the Appointment and Performance of Defense

Counsel in Death Penalty Cases §10.3.1 Counsel should not be put in a position of having to

violate ethical rules in one case, by remaining counsel of record in this case.

       Mr. Proctor is representing Ms. Mosby pro bono. He is receiving no compensation from

any party for the representation. Moreover, Mr. Proctor has a single associate, and no paralegals

or support staff. The firm has not been provided any funds by the Court or any party to hire staff

or attorneys to assist with the representation of Ms. Mosby.

       The current trial date is March 27, 2023. Scheduling Order of 9.15.2022 (Dkt. No. 122).

It has been estimated that the trial may last at least two weeks. As stated above, the current trial

date was set on September 15, 2022. Mr. Proctor was not consulted about that trial date. No-one

asked him his availability.




1
 See https://files.deathpenaltyinfo.org/legacy/files/pdf/2003ABAGuidelines.pdf. Indeed, the
Motion to Withdraw is a good example of how Proctor’s current caseload cannot support
representing Ms. Mosby at trial in this matter. Proctor drafted the Motion to Withdraw at 5 A.M.
in a Kentucky hotel room, before spending the day visiting an inmate under threat of both state
and federal execution. He then filed the Motion from the airport later in the day. Simply put:
there is no excess bandwidth in his schedule in the months ahead.


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        On July 15, 2022, two months prior to the setting of the trial date, Mr. Proctor booked a

non-refundable trip to the United Kingdom.2 Similarly, non-refundable hotel stays and rental cars

have been booked. The flight leaves the United States on March 22 and return date is March 31,

2022. As such, Mr. Proctor will be out of the country during trial in this matter. The trip is to

celebrate Mr. Proctor’s father’s 80th birthday. Others are flying in from Belfast, Northern Ireland,

Dublin, Republic of Ireland, Atlanta, Georgia and New York, New York. It cannot be rescheduled

at this stage.

        Further: when it was discovered that Mr. Proctor had a conflict with the trial date, it was

simply of no moment, because he was never meant to try the case anyway. Mr. Proctor entered

his appearance in this matter solely because he, uniquely among the defense team, has access to,

and familiarity with evoucher, which is the Court’s internal system under which funds can be

requested for things such as experts.3 Given that counsel was requesting funds for experts for Ms.

Mosby, it seemed prudent to enter his appearance, but it was never his intention, nor anyone else’s

understanding that he would play a prominent role in this trial. It was agreed that Proctor’s role

would be limited to ancillary matters such as processing requests through evoucher and answering

local practice and procedure type questions. Arguing a single motion for twenty (20) minutes does




2
 Mr. Proctor is happy to email the flight reservation to Chambers, should the Court wish to
confirm this.
3
  In their response “[t]he Government notes that nothing in Mr. Proctor’s notice of appearance
filed June 1, 2022 limits his appearance in this matter.” ECF 175 at 6. Never, in more than
twenty years of practice, has the undersigned seen an entry of appearance that says anything
more than I will be counsel for the Defendant in this matter. To suggest that some limitations
should have been stated in the entry of appearance stretches credulity.

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not in any way signal that counsel has the availability to devote the additional tranche of time

required to take this matter to trial.4

        Given the conflict in counsel’s schedule, and the pro bono nature of his appointment,

Maryland Rule of Professional Conduct 19-301.16(b) provides support that further representation

“will result in unreasonable financial burden on the attorney” basis for withdrawal, as well the

rule’s “other good cause for withdrawal exists” basis. MD Rule of Professional Conduct 19-

301.16(b)(6) & (7).

        Therefore, there is more than sufficient good cause to allow Mr. Proctor to withdrawal at

this time.

II.     MR. PROCTOR IS WILLING TO REPRESENT MS. MOSBY IF THE
        CASE/TRIAL SCHEDULE DOES NOT CONFLICT WITH HIS OTHER
        RESPONSIBILITES.

        To be clear – Mr. Proctor simply cannot serve as trial counsel (or local counsel at trial to

allow Reed Smith to comply with Local Rule 201) under the current trial schedule for the reasons

explained previously. He will be on a different continent on the currently scheduled trial date.

However, if the trial schedule is moved to a date that does not conflict, Mr. Proctor is willing to

continue representing Ms. Mosby in a secondary/support attorney role.

III.    CONCLUSION

        For the reasons expressed herein, there is sufficient good cause to allow Mr. Proctor to

withdraw at this time. Requiring him to continue as pro bono trial counsel under the current trial

schedule will conflict with a scheduled trip, and clients whose very lives are on the line and thereby



4
 The Government says in their Response that “[t]his is not a complicated case.” ECF 175 at 9.
Counsel vehemently disagrees and would note that the Government had 3 AUSA’s and 3 Agents
at the most recent hearing, which seems incongruous with its belief in the simplicity of this
matter.


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result in an “unreasonable financial burden” for Mr. Proctor. Maryland Rule of Professional

Conduct 19-301.16(b)(6) This conflict also supplies sufficient “other good cause for withdrawal”

pursuant to Maryland Rule of Professional Conduct 19-301.16(b)(7). Mr. Proctor respectfully

requests that the Court grants his request to withdraw.




                                                             Respectfully Submitted,


                                                             /s/ Gary E. Proctor

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                                CERTIFICATE OF SERVICE

       I certify that on January 23, 2023, notice of this filing was provided to all counsel of

record via ECF, and true and correct copies of the filing are available to all parties through ECF

or Pacer.

                                                            ------------/s/-------------
                                                            Gary E. Proctor




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